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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          TODD R., et al.,                               CASE NO. C17-1041JLR

11                                Plaintiffs,              ORDER FOLLOWING REMAND
                   v.                                      FROM THE NINTH CIRCUIT
12                                                         COURT OF APPEALS
            PREMERA BLUE CROSS BLUE
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            SHIELD OF ALASKA,
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                                  Defendant.
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            Before the court are the memorandum disposition and mandate of the Ninth
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     Circuit Court of Appeals vacating and remanding the matter to this court. (See 9th Cir.
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     Mem. Disp. (Dkt. # 88); 9th Cir. Mandate (Dkt. #89).) The court ORDERS the parties to
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     file, within 14 days of the filing date of this order, a joint status report proposing how the
19
     court should proceed on remand along with a proposed case schedule. The parties should
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     //
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     //
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     ORDER - 1
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 1   attempt to agree in good faith on a unified approach and schedule. If they cannot so

 2   agree, they may outline their disparate suggestions in the joint status report.

 3          Dated this 30th day of September, 2020.

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 5                                                     A
                                                       JAMES L. ROBART
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                                                       United States District Judge
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     ORDER - 2
